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10                                     UNITED STATES DISTRICT COURT
11                                   NORTHERN DISTRICT OF CALIFORNIA
12                                              SAN JOSE DIVISION
13
     UNITED STATES OF AMERICA,                         ) CASE NO. 20-CR-00458 BLF
14                                                     )
               Plaintiff,                              )
15                                                     ) NOTICE OF REMOVAL OF COUNSEL
          v.                                           )
16                                                     )
     DAVID CAMPOY, ET AL.,                             )
17                                                     )
          Defendants.                                  )
18                                                     )
19
               The United States Attorney’s Office hereby files this Notice of Removal of Counsel to advise the
20
     Court that Assistant United States Attorney Christina Liu is no longer assigned to this matter. Please
21
     remove Assistant United States Attorney Christina Liu from the attorneys to be noticed in this case.
22
     DATED: June 24, 2022                                  Respectfully submitted,
23
                                                           STEPHANIE M. HINDS
24                                                         United States Attorney
25
                                                                   /s/ Christina Liu
26                                                         CHRISTINA LIU
                                                           Assistant United States Attorney
27

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     Notice of Removal of Counsel
     Case No. 20-CR-00458 BLF
